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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 AARON SABATER,
                               Plaintiff,
                                                                   17-CV-7135 (JPO)
                     -v-
                                                                        ORDER
 MONTEFIORE MEDICAL CENTER,
 ET AL.,
                     Defendants.


J. PAUL OETKEN, District Judge:

   In light of the unsuccessful settlement conference, the parties are reminded that the jury trial

in this case is scheduled to begin on December 7, 2020. In addition, the Court hereby sets the

following pretrial schedule:

   •   On or before November 13, 2020, the parties shall file a joint pretrial order, any motions
       in limine, proposed jury instructions, and proposed voir dire questions.
   •   On or before November 19, 2020, the parties shall file responses to motions in limine.
   •   A final pretrial conference will take place on December 1, 2020, at 2:00 p.m., in
       Courtroom 706, 40 Foley Square.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York

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                                                        J. PAUL OETKEN
                                                    United States District Judge
